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IN THE UN|TED STATES DlSTR|CT COURT
FOR THE WESTERN DlSTR|CT OF TENNESSEE
EASTERN DIVlSlON

 

TERESA DONNELL and
HARVEY DONNELL,

PLA|NTIFFS,

VS Case No. 1-05-1139TAm

JURY DEMANDED

MOT|ON FOR EXTENS|ON OF TIME TO FiL
RESPONSE TO DEFENDANTS’ RULE12(b) MOT|ON O D|SM|SS

 

KOHLER COMPANY and
GEORGE ROGERS, individually

DEFENDANTS.

 

 
     
     
 
 

Come now Defendants, TERESA DONNELL and HARVE DONNELL, and move this Court

for an Order extending P|aintiffs’ time to file a response t Defendants’ Rule 12(b) Motion to

Disrniss and Would state and show unto the Court as fo| Ws:

1. C. l\/lark Donahoe, co-counsel for th laintiffs has been unable to file a response

Defendant`s motion due to a s ere accident involving counse|’s father.

unsel‘ s father is still in critical condition and we have been told that §§

d
. @§005
is basically hour to hour. JU£/ y

Counse| ls responsible for making the medical treatment decisions \mgg§gard?to?%~
s_ och
father. wo- oo'°%r

MoTio GRANfE-§.“;"
DATE:

@ww/A.M

/ James D‘ Todd

U.S\ District Judge @

 

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5. Counsel’s also responsible for trying to manage and maintain the status on his
father’s various businesses

6. As a result of this unforeseen accident, Counsel is unable to properly prepare a
response to Defendants’ motion

7. Defendants' counsel has been contacted and has no objection to this motion

WHEREFORE, Plaintlffs' counsel move this Honorabie Court for an extension of time in

order to respond to Defendants’ Rule 12(b) l\/iotion to Dismiss.

Respectfu||y submitted,

HARDEE, MART|N, DAU ER & DONAHOE, P.A.

 
    

By:

C. AR DONAHOE
Co-cou sel for P|aintiffs
P.O. Box 98

Jackson, TN 38302-0098
(731)424-2151

BPR #14049

CERT|F|CATE OF SERVICE
The undersigned certifies that a true copy of the foregoing has been served on:

VV. Stephen Gardner
R. Joseph Leibovich
Young & Per|
Attorneys for Defendants
2380 One Commerce Square
Memphis, TN 38103

by hand delivery, facsimile and/or depositing same in the U.S. |V|ai|, postage p
day of June, 2005.

aid, On the 28th

   
   

. IV|A K DONAHOE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 1:05-CV-01139 Was distributed by faX, mail, or direct printing on
July ]3, 2005 to the parties listed.

 

C. Mark Donahoe

HARDEE MARTIN DAUSTER & DONAHOE

P.O. Box 98
Jackson7 TN 38302

Robert Joseph Leibovich
YOUNG & PERL

One Commerce Square
Ste. 2380

Memphis7 TN 38103

W. Stephen Gardner
YOUNG & PERL, P.C.
One Commerce Square
Ste. 2380

Memphis7 TN 38103

Honorable J ames Todd
US DISTRICT COURT

